                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION

 DAN HAENDEL,                                          )         Civil Case No. 7:18cv00317
      Petitioner,                                      )
                                                       )
 v.                                                    )         MEMORANDUM OPINION
                                                       )
 IVAN GILMORE,                                         )         By: Michael F. Urbanski
      Respondent.                                      )         Chief United States District Judge

          Dan Haendel, a Virginia inmate proceeding pro se, 1 filed a petition for a writ of habeas

 corpus pursuant to 28 U.S.C. § 2254 to challenge his criminal judgment entered by the Circuit

 Court for the City of Staunton. This matter is before the court on respondent’s motion to

 dismiss. After reviewing the record, the court grants the motion and dismisses the petition as

 time-barred. 2

                                                           I.

          On December 30, 2014, after an Alford plea, 3 the Circuit Court for the City of Staunton

 convicted Haendel of attempting to take indecent liberties with a minor, in violation of Virginia

 Code §§ 18.2-370 and 18.2-26, and using a communications system to facilitate a sexual offence

 with a minor, in violation of Virginia Code § 18.2-374.3. The court sentenced him to a total term


          1
           The court notes that Haendel was an attorney admitted to practice law in the District of Columbia from
 December 28, 1979 until his license was suspended on June 1, 2018, and he was disbarred on January 3, 2019. See
 In re Haendel, 199 A.3d 625, No. 18-BG-522, 2019 D.C. App. LEXIS 2, at *2, 2019 WL 81111, at *1 (D.C. Jan. 3,
 2019).
          2
            Since filing his petition, Haendel has been released from incarceration. See ECF No. 19. Because of his
 release, Haendel seeks to amend his petition to change the named respondent to the “Virginia Department of
 Corrections Probation and Parole District 29.” See ECF No. 18. However, because the court is dismissing his
 petition, his motion to amend is moot and, thus, will be denied. The court notes that a petitioner’s release from
 prison does not moot his petition simply because he is no longer “in custody,” provided there is still some “collateral
 consequence” of the conviction. See Spencer v. Kemna, 523 U.S. 1, 14-16 (1998). A criminal conviction carries a
 presumption of collateral consequences, see id. at 8, and respondent has offered nothing to rebut this presumption.
          3
           North Carolina v. Alford, 400 U.S. 25 (1970) “allows a defendant to plead guilty without admitting the
 commission of the acts underlying the offense and without incurring civil liability.” Jones v. United States, 401
 A.2d 473, 475 n.1 (D.C. 1979).



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 of twenty years’ incarceration, with thirteen years suspended.

        Nine months later, on September 30, 2015, Haendel filed a “Motion for Reconsideration

 and Motion to Suppress Evidence” with the Circuit Court for the City of Staunton. Haendel

 argued that the electronic communications with Officer Cully, an Officer of the Staunton Police

 Department who posed as a minor in communicating with Haendel, were unlawfully intercepted

 and should have been suppressed. The Circuit Court denied Haendel’s motion on December 23,

 2015, finding that it lacked jurisdiction to suspend or otherwise modify Haendel’s sentence

 pursuant to Virginia Code § 19.2-303 and Rule 1:1 of the Rules of the Supreme Court of

 Virginia. Haendel appealed and the Supreme Court of Virginia refused the appeal on February

 3, 2017. The Supreme Court of the United States denied his petition for writ of certiorari on

 October 2, 2017. Haendel filed the instant federal habeas petition on June 29, 2018. See R. Gov.

 § 2254 Cases 3(d) (describing the prison-mailbox rule).

                                                 II.

        Under the Antiterrorism and Effective Death Penalty Act of 1996, a petitioner has a one-

 year period of limitation to file a federal habeas corpus petition. This statute of limitations runs

 from the latest of:

                (A) the date on which the judgment became final by the conclusion of
                direct review or the expiration of the time for seeking such review;

                (B) the date on which the impediment to filing an application created by
                State action in violation of the Constitution or laws of the United States is
                removed, if the applicant was prevented from filing by such State action;

                (C) the date on which the constitutional right asserted was initially
                recognized by the Supreme Court, if the right has been newly recognized
                by the Supreme Court and made retroactively applicable to cases on
                collateral review; or

                                                  2



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                   (D) the date on which the factual predicate of the claim or claims
                   presented could have been discovered through the exercise of due
                   diligence.

 28 U.S.C. § 2244(d)(1).                 Here, Haendel alleges nothing to support application of

 § 2244(d)(1)(B)-(D). Under § 2244(d)(1)(A), Haendel’s conviction became final on January 29,

 2015, when his time to file a direct appeal to Court of Appeals of Virginia expired, see Va. Code

 § 8.01-675.3 and Va. S. Ct. R. 5A:6, and the statute of limitations began to run on that date.

 Therefore, Haendel had until January 29, 2016, to file a timely federal habeas petition.

          Section 2244(d)(2) tolls the federal limitation period during the time in which “a properly

 filed application for State post-conviction or other collateral review . . . is pending.” 28 U.S.C.

 § 2244(d)(2). An application for post-conviction review or other state collateral proceeding is

 “properly filed” when its delivery and acceptance are in compliance with the applicable laws and

 rules governing filings.” Artuz v. Bennett, 531 U.S. 4, 8 (2000); see also Pace v. DiGuglielmo,

 544 U.S. 408, 414 (2005). Haendel’s September 30, 2015 motion in the circuit court, collaterally

 attacking his conviction, and the subsequent appeals of the denial of that motion, did not toll the

 statute of limitations because the motion was not “properly filed.” 4 See Hall v. Johnson, 332 F.

 Supp. 2d 904, 909 (E.D. Va. 2004) (finding a collateral attack denied under Virginia Supreme

 Court Rule 1:1 was not properly filed and, thus, did not toll the statute of limitations period).

 Accordingly, Haendel’s petition is time-barred unless he demonstrates that the court should

          4
            Moreover, even if the court tolled the statute of limitations during the pendency of Haendel’s motion and
 subsequent appeals, his federal habeas petition would nevertheless be untimely. A total of 244 days passed from the
 time his conviction became final on January 29, 2015 to the time he filed his motion in the Circuit Court on
 September 30, 2015. The Supreme Court of Virginia denied his appeal of his collateral attack on February 3, 2017.
 Haendel’s petition for writ of certiorari to the Supreme Court of the United States did not toll the statute of
 limitations. See Lawrence v. Florida, 549 U.S. 327, 334-36 (2007) (holding that a petitioner is not entitled to tolling
 to file a petition for writ of certiorari to the Supreme Court of the United States following state collateral review,
 even if the petition for writ of certiorari is actually filed). Therefore, the limitations period ran for another 511 days
 before he filed his federal habeas petition on June 29, 2018. Accordingly, even if the court tolled the limitations
 period during the pendency of his state collateral attacks, a total of 755 days passed between the time his conviction
 became final and time he filed his federal habeas petition and, thus, his petition would be untimely filed.
                                                             3



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 equitably toll the one-year statute of limitations, Rouse v. Lee, 339 F.3d. 238, 246 (4th Cir.

 2003), or that he is actually innocent of his convictions, McQuiggin v. Perkins, 569 U.S. 383,

 386 (2013).

        A district court may apply equitable tolling only in “those rare instances where—due to

 circumstances external to the party’s own conduct—it would be unconscionable to enforce the

 limitation period against the party and gross injustice would result.” Rouse, 339 F.3d. at 246

 (citing Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000)).             The petitioner must

 demonstrate that some action by the respondent or “some other extraordinary circumstance

 beyond his control” prevented him from complying with the statutory time limit, despite his

 exercise of “reasonable diligence in investigating and bringing the claims.” Harris, 209 F.3d at

 330 (citing Miller v. N.J. State Dep’t of Corrs., 145 F.3d 616, 618 (3d Cir. 1998)). An inmate

 asserting equitable tolling “‘bears a strong burden to show specific facts’” that demonstrate he

 fulfills both elements of the test. Yang v. Archuleta, 525 F.3d 925, 928 (10th Cir. 2008) (quoting

 Brown v. Barrow, 512 F.3d 1304, 1307 (11th Cir. 2008)). Generally, the petitioner is obliged to

 specify “‘the steps he took to diligently pursue his federal claims.’” Id. at 930 (quoting Miller v.

 Marr, 141 F.3d 976, 978 (10th Cir.1998)). Haendel has presented no specific evidence to

 suggest that he was prevented from complying with the statutory time limit. Accordingly, the

 court finds no basis to equitably toll the limitations period.

        Finally, a gateway claim of actual innocence requires a petitioner to produce new,

 reliable evidence sufficient to persuade the court that no reasonable juror would have found the

 petitioner guilty beyond a reasonable doubt to overcome a time-bar restriction. McQuiggin, 569

 U.S. at 386 (citing Schlup v. Delo, 513 U.S. 298, 329 (1995)). Haendel has not presented any

 new evidence in his federal habeas petition and, thus, has not plausibly alleged a basis for

                                                   4



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 excusing his untimely filing. Accordingly, the court concludes that Haendel’s petition is time-

 barred.

                                                       III.

           Based on the foregoing, the court will grant respondent’s motion to dismiss.
                        11th
           ENTER: This _____ day of March, 2019.




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